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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION

                           CRIMINAL MINUTES - JURY TRIAL
                                              Dayl

Case No.: 3:23crll                                     Date: 12/11/2024


Defendant: Scott Howard Jenkins                      Counsel: Philip Andonian, Joseph Caleb

TIME IN COURT: 8:59-9:19; 9:41- 11:31; 11:57-1:10; 2:13-4:02;
4:15-5:34 TOTAL TIME: 6 hours 31 min


PRESENT:      JUDGE:                  Robert S. Ballou
              Deputy Clerk:           Kelly Brown
              Court Reporter:         Lisa Blair
              U. S. Attorney:         Celia Choy, Lina Peng, Melanie Smith
               Agents:                Scott Mederis, Andrew Clouser- FBI

PROCEEDINGS:
     68 present jurors present and sworn on Voir Dire.
     15 struck jurors struck for cause.
     8 jurors struck by Government.
     11 jurors struck by Defendant.
     15 jurors sworn member jury impaneled and sworn. Remaining jurors discharged.
IZI  Preliminary remarks and instructions to jury by Court.
IZI  Witnesses excluded from courtroom as previously motioned for and granted at the
     pretrial conference.
IZI  Defendant remains on bond.


Additional Information:
Parties present and represented by counsel.
Housekeeping matters taken up.
Lafler-Frye hearing held.
Court addresses parties regarding Voir Dire and a closed courtroom.
Witness excluded from courtroom. Members of the public consolidated on back row of
courtroom.
Venire arrives 9:48
Venire excused at 11:22 to remain in hallways of this floor for challenges for cause out of their
        presence. Courtroom remains open. Parties to take 5 min to make list of jurors, then will
        take a quick comfort break.
11:31
Recess.
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